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                                                 IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                                          MCALLEN DIVISION


THE UNITED STATES OF AMERICA     §
                                 §
                  Plaintiff      §
                                 §
v.                               §                                        CASE NO. 7-18-CV-303
                                 §
26.000 ACRES OF LAND, MORE OR    §
LESS, SITUATE IN HIDALGO COUNTY, §
STATE OF TEXAS; AND THE PHARR §
ORATORY OF ST. PHILIP NERI OF    §
PONTIFICAL RITE, A TEXAS         §
NON PROFIT CORPORATION,          §
                                 §
                  Defendants     §

       DEFENDANT PHARR ORATORY OF ST. PHILIP NERI OF PONTIFICAL RITE
         RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR ORDER OF
                           IMMEDIATE POSSESSION

TO THE HONORABLE JUDGE OF SAID COURT:

              NOW COMES DEFENDANT THE PHARR ORATORY OF ST. PHILIP NERI OF

PONTIFICAL RITE (hereinafter at times referred to as “Defendant”) and files this response in

opposition to the Plaintiff’s motion for order of immediate possession and would respectfully

show the Court as follows:

              1. Defendant filed its original answer on October 23, 2018 setting out numerous detailed

                     objections and defenses to the proposed taking of the property. Included among the

                     objections and defenses were raising the First Amendment of the United States

                     Constitution would affect the Defendant’s free exercise of its religion.

              2. This Honorable Court has set an initial conference in the case for December 5, 2018.


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              3. The affidavit attached to the motion for order of immediate possession does not

                     adequately and fully set out why immediate possession is necessary. In fact, in

                     Section 4, references are made to doing various studies which as the Plaintiff knows

                     have already been waived by an entry in the Federal Register on October 11, 2018.

              4. The affidavit does not say how long the survey contracts have been awarded for.

                     Moreover, the request for the order of immediate possession requests a twelve month

                     period. The Court could probably take judicial knowledge of the fact that to go on

                     and perform a survey of the corners of the property and the specific property the

                     Government proposes to take could probably be accomplished in one or two days at

                     the most. And therefore, not issuing an order at this time will not delay the Plaintiff

                     at all in its efforts.

              5. Defendant would show that the temporary right of possession would not be minimally

                     intrusive but would in fact greatly intrude upon the Defendant’s property and First

                     Amendment Right of freedom of religion.

              6. The Defendant again reiterates its objection to the amount of just compensation as

                     being very inadequate. But the real basis of Defendant’s complaint is all the other

                     objections and defenses relied upon in its answer.

              WHEREFORE PREMISES CONSIDERED, Defendant The Pharr Oratory of St. Philip

Neri of Pontifical Rite requests the following:

              1. An order be entered denying Plaintiff’s motion for order of immediate possession;

              2. That such a motion not be considered until at least on or after the initial conference

                     already set for December 5, 2018;


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              3. That the Court consider all the Defendant’s objections and defenses in deciding

                     whether to issue such an order for immediate possession;

              4. In the alternative, that if the Court was inclined to grant an order for immediate

                     possession that reasonable restrictions be placed on the Plaintiff as to when it may

                     enter the property and prior notices that it must give to the Defendant prior to entering

                     on to the property; and

              5. That the Court grant the Defendant such other and further relief as the Court deems

                     proper.


                                                       Respectfully submitted,
                                                       THE PHARR ORATORY OF ST. PHILIP
                                                       NERI OF PONTIFICAL RITE

                                                       By:     /s/ David C. Garza
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                                                 CERTIFICATE OF SERVICE

              I hereby certify that on November 20, 2018, I electronically filed the foregoing original
answer by Defendant with the Clerk of the Court using the CM/ECF system which will send
notification to all counsel of record and that I emailed a copy to the following:

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                                                              ______/s/ David C. Garza_________
                                                                    David C. Garza



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